4:04-cr-03152-RGK-DLP         Doc # 59     Filed: 09/06/05   Page 1 of 1 - Page ID # 161




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

USA,                                        )
                                            )
              Plaintiff,                    )                    4:04cr3152
                                            )
       v.                                   )
                                            )
SIMON OTERO,                                )                     ORDER
                                            )
              Defendants.                   )
                                            )



       The Clerk's Office has requested that Document Number 57 be stricken from the

record for the following reason(s):

              •       No Notice of Electronic Filing attached.

       IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document

Number 57 from the record. The party is directed to re-file the document.

       DATED this 6th day of September, 2005.

                                          BY THE COURT:



                                          s/    David L. Piester
                                          David L. Piester
                                          United States Magistrate Judge
